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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG MDL 2179
“DEEPWATER HORIZON” IN THE

GULF OF MEXICO, ON APRIL 20, 2010 SECTION; “J”
This Document Applies to: JUDGE BARBIER

MAG, JUDGE SHUSHAN
No. 12-970, Bon Secour Fisheries, Inc., et al.
v. BP Exploration & Production Inc., et al.

MEMORANDUM OF LAW IN SUPPORT OF JON ANDRY, GLENN J. LERNER,
AND ANDRYLERNER, LLC’S MOTION TO EXPEDITE OBJECTIONS TO,
AND MOTION TO AMEND, THE ORDER GRANTING THE SPECTAL MASTER
ADDITIONAL POWERS
Jon Andry, Glen J. Lerner, and AndryLemer, LLC (“collectively “The AndryLerner
Interests”) respectfully ask this Court to expedite consideration of their Objections to, and
Motion to Amend, the Order Granting the Special Master Additional Powers (“Objections”).
Expedited consideration of their Objections is needed to provide relief to AndryLerner’s clients,
who have hundreds of legitimate, unpaid claims pending before the Court Supervised Settlement
Program (“CSSP”), as well as to address the dire financial and professional circumstances that
AndryLerner finds itself in as a result of the Special Master’s embargo on the processing and
payment of its clients’ claims. The AndryLerner Interests also ask the Court for a hearing on
their Objections.
AndryLemer’s clients have done nothing wrong — indeed, the Claims Administrator’s
internal investigation found nearly every one of AndryLerner’s clients’ claims, both paid and

pending, to be “in order,” Rec. Doc. 10774-5 at 2-3. Yet, these claims are not being processed

or paid because the Special Master has exceeded the scope of his authority. As described in the
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Objections, the Special Master is undertaking a review of each and every AndryLemer client
claim pending before the CSSP. See Objections at 2-3, 8-10. The Special Master has not
identified the criteria that he is using to review these claims, and he has made unreasonable and
burdensome demands of AndryLerner before agreeing to authorize payments. /d@ As a result,
not a single AndryLerner client claim has been paid since the Court’s September 6, 2013, Order
was issued. Immediate action from the Court is necessary to enable AndryLemer’s clients to
receive the compensation to which they are entitled,

Expedited consideration is further requested from the Court to enable AndryLerner to
meet its professional and financial obligations, As described in the Objections, id at 2-3,
because claims are not being paid to AndryLerner clients, AndryLerner is not receiving its
reasonable attorney’s fees. The lack of revenue is making its increasingly difficult for
AndryLerner to meet its obligations to its employees and vendors. In other words, the Special
Master’s embargo is harming not only AndryLerner’s clients, but its employees and vendors, as
well, who rely on timely payments of, among other things, salary, benefits, and fees by
AndryLemer, Furthermore, AndryLerner’s dire financial situation threatens AndryLerner’s
ability to represent its clients before the CSSP. AndryLemer risks losing its employees and
vendors, who are critical to client representation, unless it receives attorney’s fees to meet its
obligations. Immediate relief for AndryLerner is essential to ensuring that the firm can continue
to provide legal services to its clients.

Finally, expedited review is required to address the Special Master’s present authority to
reply to The AndryLerner Interests’ responses to the Show Cause Order. The Court has ordered
responses to be filed by November 15, 2013. According to the September 6th Order, the Special

Master may file a reply two weeks thereafter. Rec. Doc. 11288, As we have argued in the
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Objections, see Objections at 11-13, the Court should make clear before November 15, 2013,

that the Special Master’s filing of replies is impermissible under Rule 53.

For the foregoing reasons, The AndryLerner Interests respectfully request that the Court

prant their Motion to Expedite. The AndryLerner Interests also request to be heard on their

Objections at a date and time set by the Court.

/s/ Lewis O. Unglesby

Lewis O. Unglesby (#12498)
Lance C. Unglesby (#29690)
Unglesby Law Firm

246 Napoleon Avenue

Baton Rouge, LA 70802
Telephone: (225) 387-0120
Facsimile: (225) 336-4355

Attorney for Jon Andry

{sf Douglas S. Draper

Douglas S. Draper (La. Bar #5073)
Heller, Draper, Patrick & Horn, LLC
650 Poydras Street, Suite 2500

New Orleans, LA 70130
Telephone: (504) 299-3333

Fax: (504) 299-3399
ddraper@hellerdraper.com

Attorney for AndryLerner, LLC

Respectfully submitted,

[sf Pauline ¥. Hardin

Pauline F, Hardin (La. Bar #6542)
James E. Wright, [I (La. Bar #13700)
Virginia W. Gundlach (La. Bar #18493)
Jones Walker LLP

201 St. Charles Avenue

49th Floor

New Orleans, LA 70170

Telephone: (504) 582-8110

Fax: (504) 589-8110
phardiné@@joneswalker.com
twright@ioneswalker.com
geundlach@ioneswalker.com

AND

William W. Taylor, TH (D.C. Bar #84194)
Amit P. Mehta (D.C. Bar #467231)
ZUCKERMAN SPAEDER LLP

1800 M Street, NW

Suite 1000

Washington, DC 20036-5802

Telephone: (202) 778-1865

Facsimile: (202) 822-8106
wtaylor@zuckerman.com
amehta@zuckerman.com

Attorneys for Glen J. Lerner
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CERTIFICATE OF SERVICE

Thereby certify that a copy of the above and foregoing Memorandum has been served on
all counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with
Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of
the United States District Court for the Eastern District of Louisiana by using the CM/ECF
System, which will send a notice of electronic filing in accordance with the procedures

established in MDL 2179, this 8th day of November, 2013.

[s{ Pauline F. Hondin
Pauline F. Hardin (La. Bar #6542)
